                                  Case 2:21-cv-06830-AB-ADS Document 31 Filed 01/26/22 Page 1 of 3 Page ID #:413



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                                 7
                                      Attorneys for Plaintiff and Proposed Class
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                                                          UNITED STATES DISTRICT COURT
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                                 10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                 12   MEGHAN DOWNING, individually             CASE NO.: 2:21-cv-06830-AB-ADS
                                      and on behalf of all others similarly
                                      situated,
3055 Wilshire Blvd, 12th Floor




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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                                                               Honorable Judge André Birotte Jr.
                                 14                  Plaintiff,
                                 15         v.                                 NOTICE OF VOLUNTARY
                                                                               DISMISSAL WITH PREJUDICE
                                 16   SONDER HOSPITALITY USA INC.
                                 17   d/b/a BEVERLY TERRACE, a
                                      Delaware corporation; and DOES 1 to
                                 18   10, inclusive,
                                 19
                                                         Defendants.
                                 20
                                 21
                                 22   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
                                 23   PLEASE TAKE NOTICE that Plaintiff, Meghan Downing (“Plaintiff”), by and
                                 24   through her undersigned counsel, hereby voluntarily dismisses all claims and causes
                                 25   of action asserted individually with prejudice pursuant to Federal Rule of Civil
                                 26   Procedure 41(a)(1)(A)(i). Parties shall bear their own fees and costs.
                                 27   ///
                                 28   ///
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                                                      VOLUNTARY DISMISSAL WITH PREJUDICE
                                  Case 2:21-cv-06830-AB-ADS Document 31 Filed 01/26/22 Page 2 of 3 Page ID #:414



                                 1    Dated: January 26, 2022                Respectfully Submitted,
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                                 3                                           /s/ Thiago M. Coelho
                                                                             Thiago M. Coelho
                                 4                                           WILSHIRE LAW FIRM
                                 5                                           Attorney for Plaintiff and
                                                                             Proposed Class
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                                                     VOLUNTARY DISMISSAL WITH PREJUDICE
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                                 1                              CERTIFICATE OF SERVICE

                                 2
                                            The undersigned hereby certifies that on January 26, 2022, a true and correct
                                 3
                                      copy of the foregoing was electronically filed with the Clerk of the Court using the
                                 4
                                      Court’s CM/ECF system, which sent notification to all counsel of record, who are
                                 5
                                      deemed to have consented to electronic service via the CM/ECF system.
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                                 7
                                      Dated: January 26, 2022                      /s/ Thiago M. Coelho
                                 8                                                 Thiago M. Coelho
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 WILSHIRE LAW FIRM, PLC




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                                                      VOLUNTARY DISMISSAL WITH PREJUDICE
